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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF OKLAHOMA



UNITED STATES OF AMERICA,                     )
                                              )
                       Plaintiff,             )
                                              )
vs.                                           )       Case No. 22-CR-115-CVE
                                              )
RICHARD DALE DEETER, JR.,                     )
                                              )
                       Defendant.             )




                DEFENDANT RICHARD DALE DEETER JR.’S MOTION1
                    TO DISCLOSE IDENTITY OF INFORMANTS




       Defendant Richard Dale Deeter, Jr. (hereinafter referred to as “Mr. Deeter”) hereby Mr.

Deeter hereby moves the Court to order disclosure of the identity of “Unindicted Co-Conspirators”

1-5.

       In the alternative, Mr. Deeter asks the Court to engage in an in camera hearing to ensure that

“Unindicted Co-Conspirators” 1-5 neither participated in the allegations set forth in the Indictment

nor are privy to exculpatory information.




       1
        The parties have conferred in good faith on this issue, and an agreement will hopefully
ensue. The undersigned filed this Motion out of an abundance of caution as the day of this filing
was the motion deadline in this case and an arrangement had yet to be made.
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                  Disclosing the Identity of Informants Generally

         The general rule for disclosing the identity of informants appears in Roviaro v.

 U.S., 353 U.S. 53 (1957). It isn’t a very stringent standard:



                   “Where the disclosure of an informer’s identity, or of the contents of his
               communications is relevant and helpful to the defense of an accused, or is
               essential to a fair determination of a cause, the privilege must give way. In these
               situations the trial court may require disclosure and, if the Government
               withholds the information, dismiss the action.”


 Id. at 61.

         Cases construing Roviaro indicate that involvement in the activities at issue in a case

 militate toward disclosure of the informant’s identity as well.

         In Roviaro the Supreme Court ruled disclosure mandatory in large part because of

 the informant’s involvement in the charged activities:

                        “This is a case where the Government’s informer was the sole
                participant, other than the accused, in the transaction charged. The informer was
                the only witness in a position to amplify or contradict the testimony of
                government witnesses. Moreover, a government witness testified that Doe
                denied knowing petitioner or ever having seen him before. We conclude that,
                under these circumstances, the trial court committed prejudicial error in
                permitting the Government to withhold the identity of its undercover employee
                in the face of repeated demands by the accused for his disclosure.”

 Roviaro, 353 U.S. at 64-65.

         Later cases clarify that involvement by the informant in the charged activities counsels

 very strongly in favor of ordering the informant’s identity disclosed:


                        “Thus, the extent of the informant’s participation in the crime charged is
                a significant factor in deciding whether his identity should be disclosed….The
                fact that if Jeffries is CI # 2, then CI# 2 played, under the defendant’s
                theory, a ‘pivotal role’ in the alleged offense is a strong indicator that
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                 disclosure is appropriate.”

 U.S. v. Ham, 29 F.Supp.2d 67, 69-70 (D. Conn. 1998)(emphasis added)(citations

 omitted). (See also U.S. v. Price, 783 F.2d 1132, 1139 (4th Cir. 1986):


                         “The court held that where an informant is a participant in a criminal
                 enterprise, a defendant is not required to present proof of his or her need for the
                 informant’s testimony. Such a requirement would place an ‘unjustifiable
                 burden on the defense’….the informant in McLawhorn ‘participated in the
                 criminal incident through attempting to arrange a sale




                          federal agent, riding in a car with the agent and the defendant and
                 participating in the sale. The court concluded that under these circumstances,
                 the trial court had erred in refusing to compel disclosure of the informant’s
                 identity….the informant in this case did much more than tip off the government
                 regarding Price’s alleged desire to sell his rig. The informant set up the deal.
                 He was a necessary party to the telephone negotiations which led to the
                 attempted sale. It was in the course of the phone call that the informant
                 communicated the alleged offer of sale to the agent, an unidentified person
                 alleged to be Price named his price, and both sides, through the informant,
                 agreed. The informant was clearly an ‘active participant’ in the episode under
                 McLawhorn….The informant’s involvement did not cease after the sale had
                 been arranged. The informant introduced Price to agent Zacur, drove to the
                 Holiday Inn and supplied Zacur with channel locks to break the seal on the
                 truck.According to Agent Friel, the informant also brought Price into the
                 Holiday Inn bar to introduce him to Friel…”)

 (citing Roviaro, Supra, and McLawhorn v. North Carolina, 484 F.2d 1 (4th Cir. 1973)).

         Tenth Circuit precedent supports the disclosure of an informant’s identity when the

 informant has been a participant in the allegedly illegal activities. It also supports the

 proposition that an in camera hearing take place if there is any chance an informant may

 provide exculpatory testimony. Gaines v. Hess, 662 F.2d 1364 (10th Cir.1981).

         In Gaines, the Tenth Circuit remanded a case in which an informant had contacted the

 police and acted as an intermediary between an undercover police officer and Mr.
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 Gaines. According to the policeman, Mr. Gaines sold him a quantity of illegal drugs.

         Mr. Gaines asked for the informant’s identity to be revealed because the informant was

 involved in the alleged transaction and because the informant could have offered testimony

 that was inconsistent with that of the policeman. The trial court refused, the Oklahoma Court

 of Criminal Appeals affirmed that refusal, and in the subsequent Habeas Corpus action, the

 federal district court refused to set aside the decision.

         As set forth above, it is beyond doubt that disclosure, or at the very least, in camera

 proceedings, are in order if an informant is a participant in what is alleged to constitute the

 crime charged. In this case, the informants had to be involved. There really isn’t any other way

 they could have the knowledge the Indictment alleges them to have had , unless they were

 buying drugs - - or selling them to Mr. Deeter, and flipping the script by making Mr. Deeter out

 to be the dealer and they the buyers in order to avoid the consequences of their own drug

 trafficking crimes.

         The informants’ involvement in the matters at the heart of this case justify the

 disclosure of their identities, or at the very least, an in camera hearing on the matter.



                                                 Conclusion



            The informants in this case had to be involved in the subject matter of this case.

    Their identities should be disclosed. At the very least, the Court should conduct in camera
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           proceedings to determine the usefulness of the informants to the Defense.



                                                     Respectfully submitted,



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                                     CERTIFICATE OF SERVICE

                  I hereby certify that on this 16th day of December, 2022, I electronically

   transmitted the foregoing document to the Clerk of Court using the ECF System, which

   will then send a notification of such filing (NEF) to all counsel of record registered with

   the CM/ECF system.




                                                                 s/Fred Randolph Lynn
